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6                            UNITED STATES DISTRICT COURT
7                                  DISTRICT OF NEVADA
8                                             ***
9    UNITED STATES OF AMERICA,                     Case No. 3:12-cr-00121-MMD-WGC
10                                    Plaintiff,                  ORDER
           v.
11
     BRET OGILVIE AND LINWOOD TRACY,
12   JR.,
13                                Defendants.
14

15         The Court received the attached documents from Defendant Tracy Linwood.

16   Defendant is directed not to send documents to the Court. All documents submitted to

17   the Court must be filed and served on all parties. Defendant did file one of the two

18   documents. Moreover, it is not clear why Defendant provided a copy of the attached

19   documents to the Court. The Court will disregard the attached documents.

20         DATED THIS 9th day of July 2013.
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                                                    MIRANDA M. DU
23                                                  UNITED STATES DISTRICT JUDGE
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